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5                            UNITED STATES DISTRICT COURT

6                           EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                No. 2:15-cr-39-GEB
9                      Plaintiff,
10           v.                               DECISION AFTER RECONSIDERATION
                                              OF ECF NO. 67
11   EMILIO LARA,
12                     Defendant.
13

14                  Defendant Emilio Lara (“Defendant”) filed a document

15   titled “Mr. Lara’s Trial Brief,” ECF No. 74, but the document is

16   tantamount to a motion for reconsideration of this court’s prior

17   order, ECF No. 67, on the government in limine motions.                        The

18   trial        confirmation   order    prescribes     that     “[a]ny   reasonably

19   anticipated dispute concerning the admissibility of evidence that

20   is not briefed in an in limine motion shall be included in trial

21   briefs,” and contains a briefing schedule for in limine motions.

22   ECF No. 56 at 1:19–26 (emphasis added).               Defendant states in his

23   trial brief that he “urges the Court to reconsider its previous

24   evidentiary rulings.”          Trial Brief (“Mot. Reconsideration”) at

25   1:22–23.

26                  After   considering    the    fuller    proffer    contained     in

27   Defendant’s trial brief, the portion of the March 9, 2018, ruling

28   concerning       Defendant’s   ability      to   introduce   evidence   of    non-
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1    fraudulent     returns,    ECF    No.   67    at    2:10–4:3,    is     clarified.

2    Defendant’s    motion     for   reconsideration      in   his   trial    brief   is

3    therefore granted on this issue, but the ruling is affirmed with

4    the additional reasoning contained herein.                  Defendant has not

5    shown   that    any     other    aspect      of    the    decision    should     be

6    reconsidered.

7               Defendant argues:

8               In response to the government’s motions in
                limine, the Court issued a written ruling on
9               these issues effectively acquiescing to all
                of the government’s requests. Doc. no. 67.
10              [Defendant] had no opportunity to respond to
                the government’s reply brief (see doc. no.
11              66), and the Court did not permit a hearing
                on the issues nor oral argument from the
12              parties.    Herein, [Defendant] attempts to
                frame these disputes as clearly as possible,
13              and urges the Court to reconsider its
                previous evidentiary rulings in light of his
14              legal     arguments,     further     factual
                developments, and the course of trial as it
15              progresses.
16   Mot. Reconsideration at 1:17–25.

17              [Defendant]’s defense theory is, and always
                has been, a simple one: he did not fabricate
18              inflated expenses or deductions on his
                clients’   returns.  Any   evidence   showing
19              inaccurate numbers on returns prepared by
                [Defendant] can either be explained as an
20              innocent mistake, an instance of the taxpayer
                lying in order to protect themselves from the
21              repercussions of their misrepresentations to
                their tax preparer, or otherwise an error
22              made by someone other than [Defendant]. That
                defense is easily bolstered by even the most
23              cursory analysis of the factual circumstances
                in the case.
24
                The government alleges that, over the course
25              of four tax seasons between 2009 and 2012,
                [Defendant] selected 21 customers and 38
26              returns on which he would input exaggerated
                numbers for medical expenses, unreimbursed
27              employee     expenses,     and     charitable
                contributions. This the government claims he
28              did despite having been in business for years
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1               beforehand, continuing to be in business for
                years afterward, and the government having no
2               evidence (and indeed never alleging) that he
                did so for any other clients or any other
3               returns (including his own).

4               The reality, however, is that [Defendant]’s
                business handled thousands of tax returns
5               every year, and that a database query
                conducted by the government for [Defendant]’s
6               Practitioner TIN (PTIN) is linked to 2,066
                returns in 2009, 2,971 returns in 2010, 2,733
7               returns in 2011, and 2,106 returns for 2012.
                See Exhibit A. The 38 returns identified by
8               the   government   as   containing   inaccurate
                expenses amount to less than half of one
9               percent of the returns [Defendant] filed in
                the applicable years(approximately .38%). The
10              reality is also that [Defendant] received no
                commission    or   commensurate   benefit   for
11              providing    individual    customers   slightly
                higher refunds, as [Defendant] charged a flat
12              fee for federal income tax returns. Thus, the
                government’s allegation is that [Defendant]
13              selected a minuscule and seemingly random
                percentage of his clients’ returns and
14              inputted   exaggerated    expenses   on   those
                returns, and that he did so without receiving
15              any direct benefit.

16   Id. at 2:9–3:7.

17              [Defendant] has a constitutional right to
                present his defense, and that right is
18              abridged by the Court’s ruling that he is not
                permitted   to   present    evidence   entirely
19              negating any plausible motive he might have
                had to conduct the alleged offenses. By
20              restricting [Defendant]’s ability to admit
                uncharged tax returns (as [Defendant] reads
21              this Court’s order to do), this Court
                prevents   [Defendant]   not   from   admitting
22              “other acts” evidence to show that he acted
                in propensity therewith on the dates charged
23              in   the  indictment,    but   from   admitting
                evidence   that   directly    contradicts   the
24              government’s entire theory of the case.

25   Id. at 6:13–20.

26              “Due   process   ‘is,   in    essence,   the   right   to   a   fair

27   opportunity to defend against the [government]’s accusations.’”

28   Perry v. Rushen, 713 F.2d 1447, 1450 (9th Cir. 1983) (quoting
                                          3
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1    Chambers    v.    Mississippi,       410   U.S.    284,    294    (1973)).          “The

2    defendant’s right to present evidence, however, is not absolute.”

3    Id.      “In the exercise of this right, the accused . . . must

4    comply with established rules of procedure and evidence designed

5    to assure both fairness and reliability in the ascertainment of

6    guilt and innocence.”           Id. (quoting Chambers, 410 U.S. at 302).

7                Defendant offers out-of-Circuit decisions as asserted

8    authority    supporting        his   position,    and    argues    that    Herzog     v.

9    United States, 226 F.2d 561, 565 (9th Cir. 1955), “does not

10   extend as broadly as the government or this Court claims.”                          Mot.

11   Reconsideration        at    5:17–18.      Defendant      cites    five     cases     in

12   support     of    the       proposition    that    “multiple           Circuits     have

13   recognized       the    wide    latitude    a     defendant       is     afforded     in

14   introducing evidence showing a lack of criminal intent.”                          Id. at

15   5:18–19 (citing United States v. Brown, 411 F.2d 1134, 1137 (10th

16   Cir. 1969); Black v. United States, 309 F.2d 331, 337 (8th Cir.

17   1962); Haigler v. United States, 172 F.2d 986, 987 (10th Cir.

18   1949); Bullard v. United States, 395 F.2d 658, 660 (5th Cir.

19   1968);    Ehrlich      v.   United   States,     238    F.2d   481,484     (5th     Cir.

20   1956)).
21               The Tenth Circuit states in United States v. Brown that

22   “the accused as part of his defense is entitled to wide latitude

23   in the introduction of evidence which tends to show lack of

24   specific intent.”           411 F.2d 1134, 1137 (10th Cir. 1969).                    But

25   Brown considered whether hearsay testimony was admissible.                           The

26   defendant argued in Brown:
27               that he was at all times simply following the
                 orders and directions of his superiors, . . .
28               in making trade outs in carrying on the
                                       4
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1               entertainment of Wichita Eagle customers and
                prospective customers as a part of its
2               business promotion and that at no time did he
                ever have reason to believe or consider,
3               under the circumstances, that the goods,
                merchandise and service received by him was
4               taxable income to him.

5    411 F.2d at 1137.     Brown did not concern the relevance of other,

6    unrelated acts at issue and is not applicable to the issue sub

7    judice.

8               Similarly,      the   Eighth    Circuit,   in   Black       v.    United

9    States, 309 F.2d 331 (8th Cir. 1962), sets forth only a broad

10   statement of law inapplicable to the circumstances of the case

11   sub   judice.      Black    discussed      the   sufficiency      of    evidence

12   supporting a conviction and the propriety of a jury instruction.

13   Black discusses the defendant’s theory of the case — that during

14   the time he “relied exclusively upon [another person] to keep his

15   books and records,” id. at 338 — and it contains a statement of

16   law that “evidence on the question of intent, where that is

17   material, may take a wider range than is allowed in support of

18   other issues, otherwise there would often be no means to disclose

19   the purpose of the act charged in which the very gist of the

20   offense   may   consist,”    id.   at     337.   Black     does   not       support

21   Defendant’s position.

22              In Haigler v. United States, 172 F.2d 986 (10th Cir.

23   1949), the Tenth Circuit held that

24              where . . . motive or bad purpose is an
                essential element of the offense charged, the
25              accused may not only directly testify that he
                had no such motive or purpose, but he may,
26              within    rational  rights,   buttress   such
                statement    with   testimony   of   relevant
27              circumstances, including conversations had
                with third persons or statements made by
28              them, tending to support his statement.
                                      5
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1    Id. at 987 (internal quotation marks and citations omitted).                         But

2    consideration of what Haigler states evinces that it involved

3    introduction        of    evidence     directly     relevant      to    the     charged

4    transaction:

5                    From    cross-examination    of    government
                     witnesses, and from questions asked of
6                    defense witnesses, it is plain that the
                     theory of the appellant’s defense was that he
7                    understood,   and  that   it   was  generally
                     understood among sheepmen, that if an old
8                    herd of sheep was sold and replaced in the
                     same year with a new herd, the taxable income
9                    was the difference between the sale price of
                     the old herd, and the purchase price of the
10                   new; that he called to the attention of his
                     auditor the balance of approximately $5,000
11                   in the account about thirty days after his
                     income tax return had been filed, and that he
12                   understood or was led to believe, that it
                     would be reflected in an amended return.
13                   Counsel for the appellant insisted that this
                     testimony was admissible for the purpose of
14                   showing his lack of intent to defeat or evade
                     his income tax liability.
15

16   Id. at 988.        The district court had excluded such testimony, but

17   the     Tenth    Circuit    held     that    it   should   have     been      admitted.

18   Haigler does not support defendant’s position.

19                   Ehrlich v. United States, 238 F.2d 481 (5th Cir. 1956)

20   and Bullard v. United States, 395 F.2d 658 (5th Cir. 1968), which
21   simply cites Ehrlich, do contain dicta which could be construed

22   to be at odds with Herzog.              In Ehlrich, the Fifth Circuit, when

23   discussing the propriety of the government’s other acts evidence,

24   states: “Defendant himself, recognizing the relevancy and value

25   of    [other     acts    testimony],    offered    similar     testimony       for   the

26   purpose     of    substantiating       his   contentions     that      his    acts   and
27   conduct were not covinous and fraudulent but open and sincere.”

28   Ehrlich v. United States, 238 F.2d 481, 484 (5th Cir. 1956).
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1    The   Bullard     panel    states    in   dictum   that   “where    an    accused’s

2    conduct for which he is on trial is ambiguous in nature, that is

3    where wrongful if done with an improper intent but not criminal

4    if done innocently, testimony of prior conduct by the accused may

5    be shown to assist the jury is (sic) resolving the issue of

6    intent.”    395 F.2d at 660 (citing Ehrlich, 238 F.2d 481).                     This

7    dicta is not persuasive in light of United States v. Dobbs, a

8    later   Fifth     Circuit     case    explicitly    adhering       to    the    Ninth

9    Circuit’s Herzog opinion.            See 506 F.2d 445, 447 (5th Cir. 1975)

10   (citing Herzog, 226 F.2d at 565).

11               Defendant argues that an exception to the general rule

12   of exclusion exists in another out-of-Circuit case, United States

13   v. Sternstein, 596 F.2d 528, 530 (2d Cir. 1979).                   Sternstein was

14   discussed    in     the    ruling     being   reconsidered,        ECF    No.     67.

15   Defendant       insists     that     Sternstein     supports       his     position

16   notwithstanding Herzog and other cases the government cited in

17   support of its motion in limine.              Defendant has not shown that

18   the reasoning of Sternstein applies to the indicted charges in

19   the instant case.         Rather, the reasoning of Herzog applies:

20               The government produced evidence that 18 new
                 ‘house’ or ‘executive’ cars were transferred
21               into   appellant's  personal   ownership  and
                 subsequently when resold the income was not
22               recorded on the books of the agency nor
                 reflected in appellant’s tax returns. The
23               appellant then offered evidence to show that
                 there were 13 other ‘house’ or ‘executive’
24               automobiles registered in his name and when
                 resold the sales were recorded on the books.
25               This evidence was properly excluded as
                 immaterial A defendant cannot establish his
26               innocence of crime by showing that he did not
                 commit similar crimes on other occasions.
27
     226 F.2d at 565.          The Fifth Circuit has held the same in Dobbs,
28
                                               7
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1    stating:

2               The trial court’s exclusion of defendants’
                proffer   of  evidence   exhibiting   routine,
3               noncriminal conduct as to some tax returns
                was correct. They were not charged with a
4               scheme   but  with   separate   instances   of
                criminal conduct and evidence of noncriminal
5               conduct to negate the inference of criminal
                conduct is generally irrelevant.
6

7    506 F.2d at 447 (citing Herzog, 226 F.2d at 565).             Further, the

8    Sixth Circuit, in an unpublished case, also upheld the exclusion

9    of non-fraudulent tax returns:

10              Daulton argues that because the government
                was permitted to present evidence of acts
11              outside the indictment to show a common
                scheme, he should be able to negate such
12              evidence with evidence of noncriminal acts.
                In   Dobbs,  this court found noncriminal
13              conduct irrelevant because the defendants
                were charged with separate instances of
14              criminal conduct and not a scheme. 506 F.2d
                at 447. Similarly, Daulton was charged with
15              separate instances of preparing fraudulent
                tax returns. The government did not contend
16              that the defendant always engaged in criminal
                activity when preparing tax returns, but
17              rather that the defendant had a method for
                maximizing refunds by including deductions
18              for   expenses   that   were    not   incurred.
                Therefore,   the    proffered     evidence   of
19              instances when Daulton prepared truthful
                returns   is   irrelevant    to   the   charged
20              instances.
21              Daulton argues that the government tried his
                case like a conspiracy by using evidence not
22              charged in the indictment and by including
                charges for returns that were not prepared by
23              him personally but instead by his employees.
                Although this argument may make the overall
24              decision regarding whether the defendant
                should have been permitted to present the
25              proffered evidence a close question, any
                error   in   excluding  such   evidence   was
26              harmless.
27   United States v. Daulton, 266 F. App’x 381, 386 (6th Cir. 2008).

28              In   the   instant   case, “[t]he    government    has   charged
                                          8
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1    [Defendant] with filing thirty-eight false tax returns, not with

2    a fraudulent scheme, and therefore uncharged, non-fraudulent tax

3    returns are not relevant to the charges.”                         Mot. In Limine Exclude

4    Evidence Non-Fraudulent Returns at 3:10–11, ECF No. 59.                                 “[T]he

5    government       is   not    arguing         that    [Defendant]      had    a    scheme    to

6    attract      clients        by    inflating         deductions.       Contrary       to    the

7    defendant’s claim, the government is not required to prove any

8    motive in section 7206 cases but is merely required to prove

9    intentional violation of a known legal duty.”                         Reply Support Mot.

10   In     Limine    at   2:19–23,         ECF   No.     66     (citing   United      States    v.

11   Pomponio, 429 U.S. 10, 12 (1976), clarifying United States v.

12   Bishop, 412 U.S. 346 (1973); United States v. Easterday, 564 F.3d

13   1004, 1008-09 (9th Cir. 2009)).

14                   For   the        stated      reasons,        Defendant’s         motion    for

15   reconsideration        in        his    trial       brief    is    granted       but,     after

16   reconsideration, the decision on the in limine ruling, ECF No.

17   67, is affirmed with the additional reasoning contained herein.

18   Dated:      March 20, 2018

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